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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,
                                       Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM
                            v.

 JASON KESSLER, et al.,
                                       Defendants.



                     PLAINTIFF’S PRELIMINARY LIST OF WITNESSES

                 In accordance with the Court’s July 15, 2021 Scheduling Order and pursuant to

 Fed. R. Civ. P. Rule 26(a)(3)(A), Plaintiffs set forth the following list of individuals that they

 believe at this time may be called as witnesses, either through live testimony or by use of deposition

 extracts. Plaintiffs reserve the right (a) not to call any of the listed witnesses at trial; (b) to call for

 rebuttal or impeachment purposes any persons not listed; (c) to call any witnesses listed on

 Defendants’ witness lists; and (d) to call custodians of records solely for the purpose of establishing

 the foundational facts necessary to admit into evidence any exhibit whose admissibility Defendants

 challenge.
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                    Name                    Subject(s) of Expected                     Address & Phone Number1
                                                  Testimony
     1      Alvarado, Chelsea          Certain Plaintiffs’ injuries;                  Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                    Fink, LLP
                                       conspirators’ actions during,                  350 5th Avenue, 63rd Floor
                                       among other things, the weekend                New York, NY 10118
                                       of August 11 and 12
     2      Alvarado, Jessica          Certain Plaintiffs’ injuries                   Contact c/o Kaplan Hecker &
                                                                                      Fink, LLP
                                                                                      350 5th Avenue, 63rd Floor
                                                                                      New York, NY 10118
     3      Baker, Thomas              Certain Plaintiffs’ injuries;                  Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                    Fink, LLP
                                       conspirators’ actions during,                  350 5th Avenue, 63rd Floor
                                       among other things, the weekend                New York, NY 10118
                                       of August 11 and 12
     4      Blair, Marissa             Certain Plaintiffs’ injuries;                  Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                    Fink, LLP
                                       conspirators’ actions during,                  350 5th Avenue, 63rd Floor
                                       among other things, the weekend                New York, NY 10118
                                       of August 11 and 12
     5      Cantwell,                  Certain Defendants’ and co-                    Christopher Cantwell 00991-
            Christopher                conspirators’ actions                          509
                                                                                      USP Marion, 4500 Prison Rd.
                                                                                      P.O. Box 2000
                                                                                      Marion, IL 62959
     6      Convisser, Julie,          Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
            LCSW                       future mental health needs                     Fink, LLP
                                                                                      350 5th Avenue, 63rd Floor
                                                                                      New York, NY 10118
     7      D’Costa, Diane             Certain Defendants’ and co-                    Contact c/o Kaplan Hecker &
                                       conspirators’ actions during,                  Fink, LLP
                                       among other things, the weekend                350 5th Avenue, 63rd Floor
                                       of August 11 and 12                            New York, NY 10118
     8      Damigo, Nathan             Certain Defendants’ and co-                    c/o James E. Kolenich, Esq.
                                       conspirators’ actions                          Kolenich Law Office
                                                                                      9435 Waterstone Blvd. #140
                                                                                      Cincinnati, OH 45249
     9      Fenton, Stephen,           Analysis of August 12 car attack               Contact c/o Kaplan Hecker &
            P.E.                       and the opinions expressed in his              Fink, LLP
                                       expert report, including the basis             350 5th Avenue, 63rd Floor
                                       of his opinions                                New York, NY 10118



 1
         Plaintiffs can be contacted through Plaintiffs’ counsel. In light of security concerns, Plaintiffs will provide third-
         party witness contact information, as necessary to parties and counsel on a confidential basis upon request.


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     10   Groves, Allen, J.D. Certain Defendants’ and co-                          Contact c/o Kaplan Hecker &
                              conspirators’ actions during,                        Fink, LLP
                              among other things, the weekend                      350 5th Avenue, 63rd Floor
                              of August 11 and 12; Certain                         New York, NY 10118
                              Plaintiffs’ injuries
     11   Heimbach,           Certain Defendants’ and co-                          c/o William Edward ReBrook,
          Matthew             conspirators’ actions                                IV, Esq.
                                                                                   The ReBrook Law Office
                                                                                   6013 Clerkenwell Court
                                                                                   Burke, VA 22015
     12   Hill, Michael              Certain Defendants’ and co-                   c/o Bryan Jones, Esq.
                                     conspirators’ actions                         106 W. South St., Suite 211
                                                                                   Charlottesville, VA 22902
     13   Kessler, Jason             Certain Defendants’ and co-                   c/o James E. Kolenich, Esq.
                                     conspirators’ actions                         Kolenich Law Office
                                                                                   9435 Waterstone Blvd. #140
                                                                                   Cincinnati, OH 45249
     14   Kline, Elliot              Certain Defendants’ and co-                   117 Mesa Drive
                                     conspirators’ actions                         Reading, PA 19608
     15   Lipstadt, Deborah,         History, ideology, symbolism,                 Contact c/o Kaplan Hecker &
          Ph.D.2                     and rhetoric of antisemitism;                 Fink, LLP
                                     historical and theoretical                    350 5th Avenue, 63rd Floor
                                     assessment of symbols and                     New York, NY 10118
                                     rhetoric displayed during the
                                     weekend of August 11 and 12 and
                                     the opinions expressed in her
                                     expert report, including the basis
                                     of her opinions
     16   Martin, Marcus             Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                     Certain Defendants’ and co-                   Fink, LLP
                                     conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                     among other things, the weekend               New York, NY 10118
                                     of August 11 and 12
     17   Muñiz, April               Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                     Certain Defendants’ and co-                   Fink, LLP
                                     conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                     among other things, the weekend               New York, NY 10118
                                     of August 11 and 12




 2
      As Plaintiffs indicated in a letter to the Court on August 27, 2021, Dr. Lipstadt has been nominated by President
      Biden to serve as the State Department’s special envoy to monitor and combat antisemitism, a position that
      requires confirmation by the Senate. (ECF No. 1036.) Plaintiffs are seeking to ascertain whether and how her
      nomination will affect Dr. Lipstadt’s ability to testify in this trial and will notify the Court and parties as soon as
      we have further information.


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  18   Parrott, Matthew     Certain Defendants’ and co-          c/o William Edward ReBrook,
                            conspirators’ actions                IV, Esq.
                                                                 The ReBrook Law Office
                                                                 6013 Clerkenwell Court
                                                                 Burke, VA 22015
  19   Ray, Robert          Certain Defendants’ and co-
       Azzmador             conspirators’ actions
  20   Reavis, Sharon,      Certain Plaintiffs’ future medical   Contact c/o Kaplan Hecker &
       R.N., M.S.,          care needs and the opinions          Fink, LLP
       C.R.C., C.C.M.       expressed in her expert report,      350 5th Avenue, 63rd Floor
                            including the basis of her           New York, NY 10118
                            opinions
  21   Romero, Natalie      Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                            Certain Defendants’ and co-          Fink, LLP
                            conspirators’ actions during,        350 5th Avenue, 63rd Floor
                            among other things, the weekend      New York, NY 10118
                            of August 11 and 12
  22   Schoep, Jeff         Certain Defendants’ and co-          c/o William Edward ReBrook,
                            conspirators’ actions                IV, Esq.
                                                                 The ReBrook Law Office
                                                                 6013 Clerkenwell Court
                                                                 Burke, VA 22015
  23   Simi, Peter, Ph.D.   Characteristics of the white         Contact c/o Kaplan Hecker &
                            supremacist movement and             Fink, LLP
                            whether Defendants’ utilized         350 5th Avenue, 63rd Floor
                            tools and tactics of the white       New York, NY 10118
                            supremacist movement and the
                            opinions expressed in his expert
                            report, including the basis of his
                            opinions
  24   Sines, Elizabeth     Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                            Certain Defendants’ and co-          Fink, LLP
                            conspirators’ actions during,        350 5th Avenue, 63rd Floor
                            among other things, the weekend      New York, NY 10118
                            of August 11 and 12
  25   Spencer, Richard     Certain Defendants’ and co-          734 Clearwater Ave.
                            conspirators’ actions                Whitefish, MT 59937
  26   Suchak, Sanjay       Certain Defendants’ and co-          Contact c/o Kaplan Hecker &
                            conspirators’ actions during,        Fink, LLP
                            among other things, the weekend      350 5th Avenue, 63rd Floor
                            of August 11 and 12;                 New York, NY 10118
                            Authentication of photographs
  27   Tubbs, Michael       Certain Defendants’ and co-          c/o Bryan Jones, Esq.
                            conspirators’ actions                106 W. South St., Suite 211
                                                                 Charlottesville, VA 22902



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  28    Willis, Devin         Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                              Certain Defendants’ and co-          Fink, LLP
                              conspirators’ actions during,        350 5th Avenue, 63rd Floor
                              among other things, the weekend      New York, NY 10118
                              of August 11 and 12
  29    Wispelwey, Seth       Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                              Certain Defendants’ and co-          Fink, LLP
                              conspirators’ actions during,        350 5th Avenue, 63rd Floor
                              among other things, the weekend      New York, NY 10118
                              of August 11 and 12
  30    Webb, Nadia,          Certain Plaintiffs’ injuries and     Contact c/o Kaplan Hecker &
        Psy.D, MPAP,          future health needs and the          Fink, LLP
        ABPdN, FACPN          opinions expressed in her expert     350 5th Avenue, 63rd Floor
                              report, including the basis of her   New York, NY 10118
                              opinions
  31    Weiss, David,         Certain Plaintiffs’ injuries and     Contact c/o Kaplan Hecker &
        M.D.                  future medical care needs            Fink, LLP
                                                                   350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118


 The Plaintiffs expect to present deposition testimony from the following witnesses, but reserve the

 right to present live testimony if necessary:

  Witnesses Who May Testify by Deposition
  1 Alduino, Erica      Certain Defendants’ and co-                Contact c/o Kaplan Hecker &
                        conspirators’ actions and                  Fink, LLP
                        ideology                                   350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118
   2    Baker, Robert         Certain Defendants’ and co-          c/o Bryan Jones, Esq.
        (Ike)                 conspirators’ actions and            106 W. South St., Suite 211
                              ideology                             Charlottesville, VA 22902
   3    Casey, Patrick        Certain Defendants’ and co-          c/o James E. Kolenich, Esq.
                              conspirators’ actions                Kolenich Law Office
                                                                   9435 Waterstone Blvd. #140
                                                                   Cincinnati, OH 45249
   4    Chesny, Michael       Certain Defendants’ and co-          Contact c/o Kaplan Hecker &
                              conspirators’ actions and            Fink, LLP
                              ideology                             350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118
   5    Colucci, Burt         Certain Defendants’ and co-          c/o William Edward ReBrook,
                              conspirators’ actions and            IV, Esq.
                              ideology                             The ReBrook Law Office
                                                                   6013 Clerkenwell Court
                                                                   Burke, VA 22015


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   6    Daley, Benjamin       Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
        Drake                 conspirators’ actions during,          Fink, LLP
                              among other things, the weekend        350 5th Avenue, 63rd Floor
                              of August 11 and 12                    New York, NY 10118
   7    Duffy, Shane          Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   8    Froelich,             Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
        Samantha              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   9    Griffin, Bradley      Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  10    Hopper, Dillon        Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  11    Pistolis, Vasilios    Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  12    Rousseau, Thomas      Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118


 The Plaintiffs may call the following additional witnesses at trial if the need arises:

  Witnesses Plaintiffs May Call
  1 Baumbusch, Clark, Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
      M.D.                 future medical care needs                 Fink, LLP
                                                                     350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   2    Blee, Kathleen,       Characteristics of the white           Contact c/o Kaplan Hecker &
        Ph.D.                 supremacist movement and               Fink, LLP
                              whether Defendants’ utilized           350 5th Avenue, 63rd Floor
                              tools and tactics of the white         New York, NY 10118
                              supremacist movement and the
                              opinions expressed in her expert
                              report, including the basis of her
                              opinions



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  3    Broshek, Donna,    Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       Ph.D.              future medical care needs          Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  4    Clay, Thomas       Certain Plaintiffs’ injuries       Contact c/o Kaplan Hecker &
                                                             Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  5    Collins, James     Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       P.T.               future medical care needs          Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  6    Elliot, Melissa    Certain Defendants’ and co-        Contact c/o Kaplan Hecker &
                          conspirators’ actions during,      Fink, LLP
                          among other things, the weekend    350 5th Avenue, 63rd Floor
                          of August 11 and 12;               New York, NY 10118
                          Authentication of video footage
  7    Fischer, Ford      Certain Defendants’ and co-        Contact c/o Kaplan Hecker &
                          conspirators’ actions during,      Fink, LLP
                          among other things, the weekend    350 5th Avenue, 63rd Floor
                          of August 11 and 12;               New York, NY 10118
                          Authentication of video footage
  8    Galbraith, Ted,    Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       DDS                future medical care needs          Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  9    Gilmore, Janice,   Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       LPC                future mental health needs         Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  10   Gwathmey, Frank    Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       M.D.               future medical care needs          Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  11   Hartka, Thomas,    Certain Plaintiffs’ injuries and   Contact c/o Kaplan Hecker &
       M.D.               future medical care needs          Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  12   McCoy, Martha,     Certain Plaintiffs’ injuries       Contact c/o Kaplan Hecker &
       LCSW                                                  Fink, LLP
                                                             350 5th Avenue, 63rd Floor
                                                             New York, NY 10118
  13   Menning, Rebekah   Certain Defendants’ and co-        Contact c/o Kaplan Hecker &
                          conspirators’ actions during,      Fink, LLP
                          among other things, the weekend    350 5th Avenue, 63rd Floor
                          of August 11 and 12                New York, NY 10118


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     14   Meyer, Brant               Authentication and/or explanation              Contact c/o Kaplan Hecker &
                                     of certain materials related to                Fink, LLP
                                     Defendants; the actions of                     350 5th Avenue, 63rd Floor
                                     Defendant Fields                               New York, NY 10118
     15   Nadell, Pam,               History, ideology, symbolism,                  Contact c/o Kaplan Hecker &
          Ph.D.3                     and rhetoric of antisemitism;                  Fink, LLP
                                     historical and theoretical                     350 5th Avenue, 63rd Floor
                                     assessment of symbols and                      New York, NY 10118
                                     rhetoric displayed during the
                                     weekend of August 11 and 12
     16   O’Connor, Robert,          Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
          M.D.                       future medical care needs                      Fink, LLP
                                                                                    350 5th Avenue, 63rd Floor
                                                                                    New York, NY 10118
     17   Roberts, Andrea,           Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
          Ph.D.                      future mental health needs                     Fink, LLP
                                                                                    350 5th Avenue, 63rd Floor
                                                                                    New York, NY 10118
     18   Sabato, Larry,             Certain Defendants’ and co-                    Contact c/o Kaplan Hecker &
          Ph.D.                      conspirators’ actions during,                  Fink, LLP
                                     among other things, the weekend                350 5th Avenue, 63rd Floor
                                     of August 11 and 12                            New York, NY 10118
     19   Sims, Carol,               Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
          L.P.C.                     future mental health needs                     Fink, LLP
                                                                                    350 5th Avenue, 63rd Floor
                                                                                    New York, NY 10118
     20   Solomon, Julie,            Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
          PMH-NP, Ph.D.              future mental health needs                     Fink, LLP
                                                                                    350 5th Avenue, 63rd Floor
                                                                                    New York, NY 10118
     21   Tabler, Angela             Certain Defendants and co-                     Contact c/o Kaplan Hecker &
                                     conspirators’ actions                          Fink, LLP
                                                                                    350 5th Avenue, 63rd Floor
                                                                                    New York, NY 10118
     22   Vinson, Sarah Y.,          Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
          M.D.                       future mental health needs and                 Fink, LLP
                                     the opinions expressed in her                  350 5th Avenue, 63rd Floor
                                     expert report, including the basis             New York, NY 10118
                                     of her opinions




 3
      If Dr. Lipstadt is not able to testify in this trial because of her pending nomination, Plaintiffs will likely call Dr.
      Nadell to testify in Dr. Lipstadt’s place.


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     23     Webster, Michael           Certain Defendants’ and co-                 Contact c/o Kaplan Hecker &
                                       conspirators’ actions during,               Fink, LLP
                                       among other things, the weekend             350 5th Avenue, 63rd Floor
                                       of August 11 and 12;                        New York, NY 10118
                                       Authentication of video footage
     23     Wellmon, Chad              Certain Defendants’ and co-       New Cabell Hall, Room 233,
                                       conspirators’ actions during,     1605 Jefferson Park Ave,
                                       among other things, the weekend   Charlottesville, VA 22904
                                       of August 11 and 12               (434) 924-7067
     24     Wolf, Steven,              Certain Plaintiffs’ injuries and  Contact c/o Kaplan Hecker &
            M.D.                       future mental health needs        Fink, LLP
                                                                         350 5th Avenue, 63rd Floor
                                                                         New York, NY 10118
     25     Young, Steve               Authentication and/or explanation Contact c/o Kaplan Hecker &
                                       of certain materials related to   Fink, LLP
                                       Defendants; the actions of        350 5th Avenue, 63rd Floor
                                       Defendant Fields                  New York, NY 10118
     26     Yutzy, Tyler               Certain Plaintiffs’ injuries      Contact c/o Kaplan Hecker &
                                                                         Fink, LLP
                                                                         350 5th Avenue, 63rd Floor
                                                                         New York, NY 10118
     Document Custodians4
      1 Aetna                          Authentication of insurance       151 Farmington Ave.
                                       records                           Hartford, CT 06156
                                                                         (800) 872-3862
     2      Alphatelemed               Authentication of medical records Alphatelemed
                                                                         2615 Columbia Pike Ste. 100
                                                                         Arlington, VA 22204
                                                                         (703) 589-9964
     3      AT&T                       Authentication of phone records; 11760 US Highway 1. Suite
                                       description of cell site data     300
                                                                         North Palm Beach, FL 33408
                                                                         (800) 291-4952
     4      Banner University          Authentication of medical records 1625 N Campbell Ave
            Medical Center                                               Tucson, AZ 85719
            Tuscon                                                       (520) 694-5102
     5      Bluespring Health          Authentication of medical records 21335 Signal Hill Plaza, Ste.
                                                                         270
                                                                         Sterling, VA, 20164
                                                                         (703) 682-2471



 4
         Plaintiffs hope to eliminate the need for many of the document custodian witnesses by agreement of the parties,
         but in an abundance of caution and in the absence of a stipulation, Plaintiffs may need to call these witnesses to
         lay foundation for various documents and records.



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   6   Bon Secours In      Authentication of medical records 8260 Atlee Road
       Motion Physical                                       Mechanicsville, VA 23116
       Therapy                                               (804) 442-3670
   7   Bon Secours         Authentication of medical records 601 Watkins Center Pkwy. Ste.
       Medical Group                                         250
       Neurology Clinic                                      Midlothian, VA 23114
                                                             (804) 325-8750
   8   Charlottesville     Authentication of medical records 500 Martha Jefferson Dr
       Radiology LTD                                         Charlottesville, VA 22911
                                                              (434) 244-4580
   9   Central Virginia    Authentication of medical records 1111 Corporate park Drive
       Family Physicians                                     Suite D
       Medical Group                                         Forest, VA 24551
                                                             (434) 382-1125
  10   Commonwealth        Authentication of medical records 10201 Krause Rd.
       Family Practice                                       Chesterfield, VA 23832
                                                             (804) 748-6229
  11   Counseling          Authentication of medical records 335 Greenbriar Dr.
       Alliance of                                           Suite 206
       Virginia                                              Charlottesville, VA 22901
                                                             (434) 220- 0333
  12   Discord             Authentication of records         444 De Haro St. Suite 200
                                                             San Francisco, CA 94107
                                                             (888) 594-0085
  13   Facebook            Authentication of records         1 Hacker Way
                                                             Menlo Park, CA 94025
                                                             (650) 308-7300
  14   Gab                 Authentication of records         700 N. State St.
                                                             Clarks Summit, PA 18411
                                                             (650) 477-5525
  15   Google Fi           Authentication of phone records; 1600 Amphitheatre Pkwy.
                           description of cell site data     Mountain View, CA 94043
                                                             (650) 253-0000
  16   Impact Trial        Authentication of demonstratives 299 Broadway, Suite 220
                                                             New York, NY 10007
                                                             (212) 967-0320
  17   Ivy Nursery Inc.    Authentication of employment      570 Broomley Road
                           and compensation records for      Charlottesville, VA 22901
                           certain Plaintiffs                (434) 295-1183
  18   Jefferson Ob/Gyn    Authentication of medical records 600 Peter Jefferson Parkway
                                                             Charlottesville, VA 22911
                                                             (434) 977-4488
  19   J.W. Townsend,      Authentication of employment      3980 Seminole Trail
       Inc.                and compensation records for      Charlottesville, VA 22911
                           certain Plaintiffs                (434) 973-1154



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  20   MedExpress          Authentication of medical records 260 Pantops Center
       Urgent Care                                           Charlottesville, VA 22911
       Pantops                                               (434) 244-3027
  21   Medical &           Authentication of medical records 1503 Santa Rosa Rd. #211
       Consulting                                            Richmond, VA 23229
       Associate                                             (804) 282-9100
  22   Move Medical        Authentication of medical records 224 Carlton Rd
       Massage & Sports                                      Charlottesville, VA 22902
       Therapy LLC                                           (434) 260-2727
  23   Nelson Byrd         Authentication of employment      310 East Market Street
       Woltz               and compensation records for      Charlottesville, VA 22902
                           certain Plaintiffs                (434) 984-1358
  24   Offices of Dr.      Authentication of medical records 3217 Chamberlayne Ave.
       Normal Murdoch-                                       Richmond, VA 23227
       Kitt                                                  (804) 321-5400
  25   Optima Health       Authentication of medical records 4417 Corporation Ln
                                                             Virginia Beach, VA 23462
                                                             (877) 552-7401
  26   Pantops Family      Authentication of medical records 1490 Pantops Mountain Place
       Medicine                                              Suite 200,
                                                             Charlottesville, VA 22911
                                                             (434) 979-4440
  27   Passages Physical   Authentication of medical records 1110 Rose Hill Dr., Suite 101
       Therapy                                               Charlottesville, VA 22903
                                                             (434) 979-5559
  28   Patient First       Authentication of medical records 5000 Cox Rd.
                                                             Glen Allen, VA 23060
                                                             (804) 968-5700
  29   Pivot Physical      Authentication of medical records 1490 Pantops Mountain Pl
       Therapy LTD                                           Charlottesville, VA 22911
                                                             (434) 245-6472
  30   Privia Medical      Authentication of medical records 950 N. Glebe Rd.
       Group                                                 Arlington, VA 22203
                                                             (571) 366-8850
  31   Roberts Home        Authentication of medical records 1180 Seminole Trail
       Medical, Inc.                                         Charlottesville, VA 22901
                                                             (434) 973-7847
  32   Senarta Martha      Authentication of medical records 500 Martha Jefferson Drive
       Jefferson                                             Charlottesville, VA 22911
       Orthopedics and                                       (434) 244-4580
       Family Medicine
  33   Sprint              Authentication of phone records;  6200 Sprint Pkwy.
                           description of cell site data     Overland Park, KS 66251
                                                             (855) 560-7690
  34   Sweet Briar         Authentication of medical records 134 Chapel Ln.
       College Health &                                      Sweet Briar, VA 24595


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       Counseling                                                 (800) 831-6001
       Services
  35   T-Mobile               Authentication of phone records;  3625 132nd Ave. SE
                              description of cell site data     Bellevue, WA 98006
                                                                (877) 413-5903
  36   Tucker Psychiatric     Authentication of medical records 1000 Boulders Pkwy. Ste. 202
       Clinic                                                   Richmond, VA 23225
                                                                (804) 320-7881
  37   United HealthCare      Authentication of records         12018 Sunrise Valley Dr. Ste.
                                                                100
                                                                Reston, VA 20191
                                                                (571) 262-2245
  38   University of          Authentication of medical records 400 Brandon Ave.
       Virginia                                                 Charlottesville, VA 22903
       Department of                                            (434) 924-5362
       Student Health
  39   University of          Authentication of medical records 535 Ray C Hunt Dr.
       Virginia                                                 Charlottesville, VA 22903
       Encompass Health                                         (434) 244-2000
       Rehabilitation
       Center
  40   University of          Authentication of medical records 1215 Lee Street
       Virginia Health                                          Charlottesville, VA 22903
       Systems                                                  (434) 924-0000
  41   University of          Authentication of medical records 545 Ray C Hunt Dr
       Virginia Medical                                         Suite 1100
       Center                                                   Charlottesville, VA 22903
       (Orthopaedics at                                         (434) 243-7778
       Fontaine)
  42   Verizon                Authentication of phone records;  140 West St.
                              description of cell site data     New York, NY 10007
                                                                (212) 395-1000
  43   Virginia               Authentication of medical records 8301 Arlington Blvd. Ste. 308
       Endocrinology                                            Fairfax, VA 22031
       Consultants                                              (703) 676-3433




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 7, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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         I hereby certify that on September 7, 2021, I also served the following non-ECF
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